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                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

IN RE:                                                        CHAPTER 13

FELIX ARMANDO CUBA                                            CASE No. 25-10794-LMI

                  DEBTOR.
______________________________________/

                               MOTION TO LIFT THE AUTOMATIC STAY
                             Subject Property: 758 E 20th Street, Hialeah, FL 33013

         COMES NOW Sachem Capital Corp., and its Successors and/or Assigns ("Secured Creditor"),

by and through its undersigned counsel moves this Honorable Court to lift the automatic stay herein

and requests adequate protection on the following grounds:

    1. The Bankruptcy Court has jurisdiction over this proceeding pursuant to 11 U.S.C. § 362 and

         other applicable law and the Bankruptcy Rules.

    2. On January 25, 2025, the Debtor, Felix Armando Cuba (the “Debtor”), filed a voluntary

         petition for relief under Chapter 13 of Title 11 of the United States Code before the United

         States Bankruptcy Court for the Southern District of Florida, Miami Division in the case styled

         as In re Felix Armando Cuba, Case No. 25-10794- LMI (the “Bankruptcy Case”).

    3. Prior to the Petition Date, on November 22, 2024, the Circuit Court of the Eleventh Judicial

         District for Miami-Dade County, Florida entered a Final Judgment of foreclosure in favor of

         the Secured Creditor in the amount of $629,612.04 (the “Final Judgment”), with respect to real

         property located at 758 E. 20th Street, Hialeah, Florida 33013 (the “Property”), which is legally

         described as:

         LOT 9 LESS WEST 11.92 FEET AND WEST 21.44 FEET OF LOT 10, ALL OF WHICH IS
         IN BLOCK 27B, TOGETHER WITH 6 FOOT OF ALLEY LYING SOUTH AND
         ADJACENT THERETO, OF AMENDED PLAT OF THE AMENDED PLAT OF
         THIRTEENTH ADDITION TO HIALEAH, ACCORDING TO THE PLAT THEREOF, AS
         RECORDED IN PLAT BOOK 34, AT PAGE 26, OF THE PUBLIC RECORDS OF MIAMI-
         DADE COUNTY, FLORIDA.

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         A true and correct copy of the Final Judgment is attached hereto as Exhibit A.

    4. Pursuant to a valuation of Miami Dade Property Appraiser, the current market value of the

         property is $445,865.00.00. A true and correct copy of that appraisal is attached hereto as

         Exhibit B. Accordingly, there is no equity in the Property based on the Final Judgment

         amount.

    5. On January 25, 2025, the Debtor filed the Chapter 13 Plan (Doc. 2) (the “Plan”), which

         proposes to pay the Secured Creditor a total amount of arrearages in the amount of

         $180,000.00 and a monthly payment of $5,000.00, however, the Final Judgment reflects that

         arrearages are greater than $220,000.00.

    6. On the Debtor’s Schedule I and Form 122C-1 (Doc. 1), the Debtor indicates that his monthly

         income is $0.00. Accordingly, the Debtor will not be able to make the proposed payments

         under the Plan.

    7. The automatic stay provisions of Section 362 of the Bankruptcy Code should be lifted or

         modified to permit Secured Creditor to enforce its rights under the Final Judgment, because

         the Debtor continues to possess the Property subjecting the collateral to further depreciation

         and risk of loss when there is no equity in the Property and the Debtor does not have the

         income to make the payments under the Proposed Plan.

    8. All conditions precedent to the institution of this action have occurred.

    9. Secured Creditor has incurred attorney's fees of $1,350.00 and costs in the amount of $199.00

         as a result of the necessity of filing this Motion. Secured Creditor's attorney's fees and costs

         are recoverable as part of the debt pursuant to the loan documents.

    10.           A good faith effort was made or will be made by the moving party to resolve the issues

         raised in this motion.




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    11.           Secured Creditor respectfully requests that the Court waive the fourteen (14) day stay

         of the Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3), so that Secured Creditor

         can pursue its in rem remedies without further delay.

WHEREFORE, Secured Creditor moves for the following:

    A) An order granting relief from the stay permitting Secured Creditor to institute or conclude

         proceedings to foreclose the Mortgage.

    B) If the Court does not see fit to grant relief from the stay as requested herein, Secured Creditor

         prays for an Order conditioning the continuation of the stay upon the Debtor's furnishing to

         Secured Creditor periodic payments under the instruments.

    C) That Secured Creditor's attorney's fees and costs incurred in filing this Motion be recoverable

         as part of the debt pursuant to the loan documents under the remedies available therein but

         shall not be a personal liability of the Debtor.

    D) Such other and further relief as to the Court may appear just and proper.




                                                       Tromberg, Morris & Partners, PLLC

                                                  BY: /s/ April Hosford Stone
                                                      Attorney for Secured Creditor
                                                      600 West Hillsboro Boulevard
                                                      Suite 600
                                                      Deerfield Beach, FL 33441
                                                      Telephone #: 561-338-4101
                                                      Fax #: 561-338-4077
                                                      FBN 0091388
                                                      ecf@tmppllc.com
                                                      astone@tmppllc.com




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                              CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on April 25, 2025, I electronically filed the foregoing with the
Clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to all
CM/ECF participants listed below:
Jose A Blanco
Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013
eservice@blancopa.com

Nancy K. Neidich
POB 279806
Miramar, FL 33027
e2c8f01@ch13miami.com

OFFICE OF THE US TRUSTEE, U.S. TRUSTEE
51 S.W. 1ST AVE.
SUITE 1204
MIAMI, FL 33130
jtabas@tabassoloff.com

On April 25, 2025, a true and correct copy was mailed to the non-CM/ECF participants listed below:
Felix Armando Cuba
758 E 20th Street
Hialeah, FL 33013

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in
this Court set forth in Local Rule 2090-1(A).
                                                    Tromberg, Morris & Partners, PLLC

                                                BY: /s/ April Hosford Stone
                                                    Attorney for Secured Creditor
                                                    600 West Hillsboro Boulevard
                                                    Suite 600
                                                    Deerfield Beach, FL 33441
                                                    Telephone #: 561-338-4101
                                                    Fax #: 561-338-4077
                                                    FBN 0091388
                                                    ecf@tmppllc.com
                                                    astone@tmppllc.com




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